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                     UNITED STATES DISTRICT COURT

                     NORTHERN DISTRICT OF GEORGIA

                             ATLANTA DIVISION


CLINTON WEEKS,                                   CIVIL ACTION NO.

                Plaintiff,
VS.                                              JUDGE

MORROW CARRIERS, LLC, HERVY
                                                 MAGISTRATE
BENJAMIN CHRISTMAS, and

AMGUARD INSURANCE COMPANY,

           Defendants.


              DEFENDANTS’ JOINT NOTICE OF REMOVAL

      PLEASE TAKE NOTICE that the Defendants, Morrow Carriers, LLC,

Hervy Benjamin Christmas, and AmGuard Insurance Company, pursuant to 28

U.S.C. §§ 1332, 1441 and 1446, file this Notice of Removal of the above-

captioned action from the State Court of Gwinnett County, Georgia, in which court

it is now pending, to the United States District Court for the Northern District of

Georgia, Atlanta Division. This removal is predicated upon this Honorable Court’s

original jurisdiction over this matter pursuant to 28 U.S.C. § 1332 because
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complete diversity exists between the parties and the amount in controversy

exceeds $75,000, exclusive of interest and costs.

                               PROCEDURAL HISTORY

         1.      On August 5, 2020, the Plaintiff filed a Complaint for Damages

(“Complaint”) in the State Court of Gwinnett County, Georgia, in the case styled

Clinton Weekes vs. Morrow Carriers, LLC, et al., Civil Action File No. 20-C-

05106-S1.

         2.      On August 10, 2020, executed Affidavits of Service for Defendants,

Amguard Insurance Company and Hervy Benjamin Christmas were filed with the

State Court of Gwinnett County on August 18, 2020.

         3.      Plaintiff has not properly served Defendant Morrow Carriers, LLC

with a copy of Plaintiff’s Complaint (the “Complaint”).

         4.      Pursuant to 28 U.S.C. § 1466(b), this Notice of Removal is timely

filed.

         5.      This Court is the district and division “embracing the place where [the

state court] action is pending” under 28 U.S.C. § 1441(a), as the State Court of

Gwinnett County is located in the Atlanta Division of the Northern District of

Georgia.

         6.      Attached to this Notice of Removal are copies of all pleadings and
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orders on file in the state court proceeding. See State Court Record attached in

globo as Exhibit A.

                          DIVERSITY JURISDICTION

      This suit is removable to this Court under and by virtue of 28 U.S.C. § 1332,

which provides federal district courts with original jurisdiction in cases where the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different states.

      7.      Plaintiff, Clinton Weekes alleged he is a citizen of Gwinnett County,

Georgia. See Plaintiff’s Complaint, ¶ 1. Thus, Plaintiff is a citizen of the State of

Georgia.

      8.      Defendant, AmGuard Insurance Company, is a Foreign Insurance

Company organized under the laws of the State of Pennsylvania with its principal

place of business in the State of Pennsylvania. Thus Defendant, AmGuard

Insurance Company is not a citizen or domiciled in the State of Georgia. See

Plaintiff’s Complaint, ¶ 16.

      9.      Defendant, Morrow Carriers, LLC, is a Domestic Limited Liability

Corporation, with its principle place of business in the State of North Carolina.

Thus, Defendant, Morrow Carriers, LLC, is not a citizen of Georgia.              See

Plaintiff’s Complaint, ¶ 10.
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      10.     Defendant, Hervy Benjamin Christmas, is a citizen of the State of

North Carolina. Thus, Defendant, Christmas, is not a citizen in Georgia.          See

Plaintiff’s Complaint, ¶ 4.

      11.     Accordingly, complete diversity exists under 28 U.S.C. § 1332 and all

relevant case law.

                         AMOUNT IN CONTROVERSY

      12.     Pursuant to 28 U.S.C. § 1332(a), the amount in controversy exceeds

the sum or value of $75,000.00, exclusive of interest and costs, for the following

reasons.

      13.     Plaintiff seeks damages relating to a motor vehicle accident that took

place on Interstate 85, Barrow County, Georgia. The relief that the Plaintiff seeks

includes past and future medical expenses, past and future injuries and damages,

and other relief the court deems just and proper such as punitive damages,

attorney’s fees and expenses of litigation, court costs, discretionary costs, and pre-

judgment interest. See Plaintiff’s Complaint.

      14.     Upon information and belief, Plaintiff seeks damages that exceed

$75,000 as Plaintiff made a pre-suit settlement demand well in excess of that

amount in which he also claimed medical expenses in excess of $100,000.

      15.     While Defendants deny the allegations of the Plaintiff’s Complaint,
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and deny liability to the Plaintiff, the amount in controversy exceeds the sum of

$75,000, exclusive of interest and costs.

      16.    A Notice of Filing Notice of Removal will be filed in state court as

required by 28 U.S.C. § 1446(d) and served on all counsel of record upon the filing

of this Notice of Removal.

      WHEREFORE, Defendants Morrow Carriers, LLC, Hervy Benjamin

Christmas, and Amguard Insurance Company, prays that this Notice of Removal be

filed in accordance with applicable law and that it be deemed good and sufficient,

and that the above-captioned matter filed in the State Court of Fulton County,

Georgia, be removed to this Honorable Court for discovery, trial, and

determination as provided by law, and that this Court enter such orders and issue

process as may be proper to bring before it copies of all records and proceedings

from the State Court of Fulton County, Georgia, and take jurisdiction of this civil

action as if it had originally commenced in this Honorable Court to the exclusion

of any further proceedings in state court.

                                       Respectfully submitted,

                                       /s/ M. Austin Moretz
                                       ______________________________
                                       M. AUSTIN MORETZ
                                       GEORGIA BAR NO.: 529307
                                       amoretz@gallowaylawfirm.com
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                                  TUJUANA S. MCGEE
                                  GEORGIA BAR NO.: 185766
                                  TMcGee@gallowaylawfirm.com




GALLOWAY, JOHNSON, TOMPKINS, BURR & SMITH
A Professional Law Corporation
990 Hammond Drive, Suite 210
Atlanta, Georgia 30328
Telephone: (678) 951-5100
Facsimile: (678) 951-1510
Attorneys for Defendants, Morrow Carriers, LLC
and Hervy Benjamin Christmas



                                  Respectfully submitted,

                                  /s/ Devin P. Arnold
                                  ______________________________
                                  DEVIN P. ARNOLD (signed with express
                                  permission by Austin Moretz)
                                  GEORGIA BAR NO.: 419908
                                  Devin.Arnold@wilsonelser.com


WILSON ELSER MOSKOWITZ EDELMAN & DICKER, LLP
3348 Peachtree Rd NE Suite 1400
Atlanta, GA 30326
Attorneys for Defendant, AMGuard Insurance Co.




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                     UNITED STATES DISTRICT COURT

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                Plaintiff,
VS.                                             JUDGE

MORROW CARRIERS, LLC, HERVY
                                                MAGISTRATE
BENJAMIN CHRISTMAS, and

AMGUARD INSURANCE COMPANY,

           Defendants.


                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing has been served upon

all counsel of record by electronic mail and/or by depositing same in the United

States Mail, properly addressed and postage prepaid, this 9th day of September,

2020, as follows:

           J. Martin Futrell                         Devin P. Arnold
       Georgia Bar No.: 450872              WILSON ELSER MOSKOWITZ EDELMAN
      Witherite Law Group, LLC                        & DICKER, LLP
600 West Peachtree Street, NW, Suite 740     3348 Peachtree Rd NE, Suite 1400
          Atlanta, GA 30308                         Atlanta, GA 30326
         Counsel for Plaintiff              Counsel for Defendant, AmGuard
                                                   Insurance Company
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                                 Respectfully submitted,

                                 /s/ M. Austin Moretz
                                 ______________________________
                                 M. AUSTIN MORETZ
                                 GEORGIA BAR NO.: 529307
                                 amoretz@gallowaylawfirm.com
                                 TUJUANA S. MCGEE
                                 GEORGIA BAR NO.: 185766
                                 TMcGee@gallowaylawfirm.com




GALLOWAY, JOHNSON, TOMPKINS, BURR & SMITH
A Professional Law Corporation
990 Hammond Drive, Suite 210
Atlanta, Georgia 30328
Telephone: (678) 951-5100
Facsimile: (678) 951-1510
Attorneys for Defendants




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